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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
     v.                                        : No. 1:21-cr-00447-CJN-03
                                               :
JOSHUA CHRISTOPHER DOOLIN,                     :
    et al.                                     :

                                   ORDER

      Upon Consideration of the motion to compel discovery filed my

defendant Joshua C. Doolin, and the record in this case, it is hereby,

      ORDERED this _______ day of March, 2023, the Motion is GRANTED.

The government is ordered to provide to immediately provide counsel for Mr.

Doolin with any and all personal identifying information it has in its

possession as to Mr. Stephen Bradshaw.




                                         _______________________________
                                         Judge, U. S. District Court for the
                                         District of Columbia




Copies to:

All registered case registered parties




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